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                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                              LYNCHBURG DIVISION

JANE DOE,                                      )
                       Plaintiff,              )
v.                                             )
                                               )      Case No.: 6:23CV00052
VIRGINIA MILITARY INSTITUTE,                   )
                                               )
                       Defendant.              )

                                 AGREED DISMISSAL ORDER

        The parties represent that they have reached a resolution and stipulate to the voluntary

dismissal of this Action with prejudice. All costs and expenses relating to this litigation (including

attorney and expert fees and expenses) will be borne by each party. This is a final judgment.

        Accordingly, this Action is DISMISSED WITH PREJUDICE.

        The Clerk is directed to forward a copy of this Order to all Counsel of Record.

        IT IS SO ORDERED.

Entered this ____ day of _____ 2025.


                                                       United States District Judge
